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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

PLANNED PARENTHOOD FEDERATION OF
AMERICA, INC., and PLANNED
PARENTHOOD OF NORTHERN NEW
ENGLAND, INC.

                                  Plaintiffs,                          19 Civ. 5433 (PAE)

          -v.-

 XAVIER BECERRA*, in his official capacity as Secretary,
 United States Department of Health and Human Services;
 UNITED STATES DEPARTMENT OF HEALTH AND
 HUMAN SERVICES; MELANIE FONTES RAINER*, in her
 official capacity as Director, Office for Civil Rights, United
 States Department of Health and Human Services; and
 OFFICE FOR CIVIL RIGHTS, United States Department of
 Health and Human Services,
                                   Defendants.


 NATIONAL FAMILY PLANNING AND
 REPRODUCTIVE HEALTH ASSOCIATION, and
 PUBLIC HEALTH SOLUTIONS, INC.,

                                  Plaintiffs,

         -v-

 XAVIER BECERRA*, in his official capacity as Secretary
 of the U.S. Department of Health and Human Services;                  19 Civ. 5435 (PAE)
 U.S. DEPARTMENT OF HEALTH AND HUMAN
 SERVICES; MELANIE FONTES RAINER*, in her official
 capacity as Director of the Office for Civil Rights of the U.S.
 Department of Health and Human Services; and OFFICE
 FOR CIVIL RIGHTS OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,
                                  Defendants.


               PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS
                 PURSUANT TO THE EQUAL ACCESS TO JUSTICE ACT




* Defendants Xavier Becerra and Melanie Fontes Rainer, in their official capacities, have been
substituted as parties pursuant to Federal Rule of Civil Procedure 25(d).
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       Pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412, Plaintiffs in Case

No. 19 Civ. 54331 and Case No. 19 Civ. 54352 (collectively the “Plaintiffs”) hereby move the

Court for an award of $907,407.71 in attorneys’ fees and costs to be paid by Defendants Xavier

Becerra, the United States Department of Health and Human Services (“HHS”), Melanie Fontes

Rainer, Director of the Office for Civil Rights, HHS, and the Office for Civil Rights, HHS

(collectively “Defendants”). Plaintiffs are entitled to an award of attorneys’ fees because they are

qualified, prevailing parties, Defendants’ position was not substantially justified, and no special

circumstances make an award unjust. Moreover, the attorneys’ fees and costs Plaintiffs request

are reasonable in light of the nature of the litigation and the relief obtained. Pursuant to the Court’s

Order of April 2, 2024, Plaintiffs file this skeletal motion but reserve the right to defer all further

filings, including, but not limited to, the submission of detailed costs and fees documentation,

declarations supporting the application, and any amended fee application until the appropriate

time. See Planned Parenthood v. Azar, No. 19 Civ. 5433 (PAE), Dkt. 138 (S.D.N.Y. Apr. 2,

2024); Nat’l Fam. Plan. & Reprod. Health Assoc. v. Azar, No. 19 Civ. 5435 (PAE), Dkt. 146

(S.D.N.Y. Apr. 2, 2024).

                                   FACTUAL BACKGROUND

       This litigation involves a challenge under the Administrative Procedure Act (“APA”) and

United States Constitution to a federal rule promulgated by Defendant HHS purporting to

implement a number of federal statutory provisions governing refusals to participate in certain

medical procedures. See Protecting Statutory Conscience Rights in Health Care; Delegations of



1
 Planned Parenthood Federation of America, Inc. and Planned Parenthood of Northern New
England, Inc (together, “Planned Parenthood Plaintiffs”).
2
 The National Family Planning and Reproductive Health Association (“NFPRHA”) and Public
Health Solutions, Inc. (“PHA”).

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Authority, 84 Fed. Reg. 23,170 (May 21, 2019) (codified at 45 C.F.R. pt. 88) (“2019 Rule”). The

2019 Rule sought to create a new regime with sweeping enforcement powers, including by

allowing objectors to refuse care to patients without prior notice and without providing a referral,

and prohibiting health care employers from reassigning workers who refused to perform core

functions of their job and from asking prospective employees about their willingness to perform

essential aspects of their job.

        This Court granted summary judgment to Plaintiffs and vacated the rule in its entirety. See

New York v. U.S. Dep’t of Health & Hum. Servs., No. 19 Civ. 4676 (PAE), Dkt. 248, 249 (S.D.N.Y.

Nov. 6, 2019). The Court found that HHS lacked substantive rulemaking authority to promulgate

significant portions of the rule; that HHS’s adoption of the rule was arbitrary and capricious; that

the rule’s definition of “discrimination” was not a logical outgrowth of the rule as proposed; and

that the rule’s remedial provision, which authorized termination of all HHS funding as a penalty

for non-compliance, violated the Separation of Powers and the Spending Clause of the U.S.

Constitution. See id.

        Federal Defendants and Defendant-Intervenors appealed. See id., Dkt. 255 (S.D.N.Y. Jan.

3, 2020). After briefing was completed, the appeal was held in abeyance pending review of the

matter by new leadership at HHS. New York v. U.S. Dep’t of Health & Hum. Servs., No. 19-4254,

Dkt. 435 (2d Cir. Feb. 5, 2021). The parties then jointly stipulated to a dismissal of Federal

Defendants’ and Defendant-Intervenors’ consolidated appeals without prejudice to any party’s

ability to reinstate one or more of the appeals within 60 days after HHS has completed the process

of revisiting the 2019 Rule, and the Second Circuit dismissed the consolidated appeals consistent

with the stipulated request. See id., Dkt. 534 (2d Cir. Dec. 7, 2022); id., Dkt. 540 (2d Cir. Dec. 8,

2022). On January 5, 2023, Defendant HHS released a Notice of Proposed Rulemaking, which



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proposed to rescind, in part, the 2019 Rule. See 88 Fed. Reg. 820, 824 (proposed Jan. 5, 2023).

On January 11, 2024, Defendant HHS published a final rule that partially rescinded the 2019 Rule,

noting that “significant questions have been raised as to the[] legality” of provisions of the 2019

Rule. See Safeguarding the Rights of Conscience as Protected by Federal Statutes, 89 Fed. Reg.

2078, 2078 (Jan. 11, 2024) (codified at 45 C.F.R. pt. 88). The 60-day window for reinstatement

of the appeals ended on March 11, 2024, with no party moving to reinstate the appeals. Pursuant

to this Court’s Order of January 11, 2023, Plaintiffs have timely filed this motion within 30 days

of the expiration of the window for reinstatement of the appeals. See New York v. U.S. Dep’t of

Health & Hum. Servs., No. 19 Civ. 4676 (PAE), Dkt. 274 (S.D.N.Y. Jan. 11, 2023).

                                          ARGUMENT

I.     Plaintiffs Are Entitled to an Award of Attorneys’ Fees and Costs Under the EAJA.

       Plaintiffs are entitled to an award of attorneys’ fees and costs under the EAJA, 28 U.S.C.

§ 2412(d)(1)(A), because they are (1) “prevailing parties”; (2) Defendants’ position was not

“substantially justified”; and (3) there are no special circumstances making an award unjust. See

Gomez-Beleno v. Holder, 644 F.3d 139, 144 (2d. Cir. 2011).

       First, Plaintiffs are prevailing parties who have achieved a “judicially sanctioned”

“material alteration” of their “legal relationship” with Defendants. Buckhannon Bd. & Care Home,

Inc. v. W. Va. Dep’t of Health & Hum. Res., 532 U.S. 598, 604–05 (2001); see also Ma v. Chertoff,

547 F.3d 342, 344 (2d. Cir. 2008). Plaintiffs brought suit to challenge the 2019 Rule; this Court

granted summary judgment to Plaintiffs and vacated the 2019 Rule in full, see New York v. U.S.

Dep’t of Health & Hum. Servs., No. 19 Civ. 4676 (PAE), Dkt. 248 (S.D.N.Y. Nov. 6, 2019);

Defendants failed to secure reversal, vacatur, or any other relief from that judgment on appeal; and

Defendant HHS subsequently published a final rule that partially rescinded the 2019 Rule, relying



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in part on this Court’s decision. See 89 Fed. Reg. at 2081 (citing New York v. U.S. Dep’t of Health

& Hum. Servs., No. 19 Civ. 4676 (PAE), Dkt. 248 (S.D.N.Y. Nov. 6, 2019)). Further, Plaintiffs

are eligible “parties” because they are non-profit 501(c)(3) organizations that had no more than

500 employees at the time the actions were filed. See 28 U.S.C. § 2412(d)(2)(B).

       Second, Defendants cannot establish that their position was “substantially justified”—in

other words, “justified to a degree that could satisfy a reasonable person” or having a “reasonable

basis both in law and fact.” Pierce v. Underwood, 487 U.S. 552, 565 (1988); see also Ericksson

v. Comm’r of Soc. Sec., 557 F.3d 79, 81 (2d. Cir. 2009). The Court should review “both ‘the

position taken by the United States in the civil action, [and] the action or failure to act by the

agency upon which the civil action is based.’” Ericksson, 557 F.3d at 82 (quoting 28 U.S.C.

§ 2412(d)(2)(D)). The Court’s rationale—in holding that HHS violated the APA on multiple

grounds—makes clear that the government’s position, both in adopting the 2019 Rule and in

defending it, was not substantially justified.      Defendant HHS’s primary justification for

promulgating the 2019 Rule was a purported increase in the number of complaints relating to the

Conscience Provisions, but, as this Court noted, this “central factual claim” was “flatly untrue,”

“demonstrably false,” and “wholly unsupported by the record.”3 New York v. U.S. Dep’t of Health

& Hum. Servs., No. 19 Civ. 4676 (PAE), Dkt. 248, at 80–81, 88 (S.D.N.Y. Nov. 6, 2019); see

Ericksson, 557 F.3d at 82 (noting no “reasonable basis in fact” where government “improperly

disregarded or mischaracterized evidence”). Additionally, the 2019 Rule established an “extreme

enforcement remedy”—terminating all of a recipient’s federal health care funds—which HHS



3
  Indeed, HHS’s counsel, “once confronted by plaintiffs’ assessment of the administrative record
after it was produced in this litigation, never stood by the claim in the Rule’s preamble that 343
complaints implicated the Conscience Provisions.” New York v. U.S. Dep’t of Health & Hum.
Servs., No. 19 Civ. 4676 (PAE), Dkt. 248, at 82 n.47 (S.D.N.Y. Nov. 6, 2019).

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even “recogniz[ed] . . . would be ultra vires.” New York v. U.S. Dep’t of Health & Hum. Servs.,

No. 19 Civ. 4676 (PAE), Dkt. 248, at 65, 68 (S.D.N.Y. Nov. 6, 2019).

       Third, Defendants cannot meet their burden to establish that the “special circumstances”

exception should apply, which “den[ies] awards where equitable considerations dictate an award

should not be made.” Vincent v. Comm’r of Soc. Sec., 651 F.3d 299, 303 (2d. Cir. 2011) (quoting

Scarborough v. Principi, 541 U.S. 401, 422–23 (2004)). This exception, which may apply “when

[a prevailing party’s] own misconduct created the circumstances that led to the litigation, and when

that party’s contributions to the litigation’s success were marginal, duplicative and unnecessary,”

is not implicated here. Caplash v. Nielsen, 294 F. Supp. 3d 123, 134 (W.D.N.Y. 2018) (alterations

in original) (quoting Vincent, 651 F.3d at 304).

II.    The Amount Requested is Reasonable.

       Plaintiffs request a total of $907,407.71 in attorneys’ fees and costs under the EAJA.

Plaintiffs seek fees for 4,466.6 hours of attorney time (for a total of $868,644.30) and 174.1 hours

of paralegal time (for a total of $17,410.00). Plaintiffs also seek $21,353.41 in other costs. Both

in total and in its component parts, this request is reasonable and commensurate with the

complexity of the issues, the success of the litigation, and the relief obtained.4

       Plaintiffs’ requested rates are reasonable. Under the EAJA, attorneys’ fees may be awarded

at $125 per hour, plus a cost-of-living adjustment. See 28 U.S.C. § 2412(d)(2)(A)(ii). Courts in the

Second Circuit have routinely applied such an adjustment in awarding fees. See Kerin v. U.S.

Postal Serv., 218 F.3d 185, 194 (2d. Cir. 2000) (noting cost-of-living adjustment may apply to




4
  Because Covington & Burling’s representation in this case is pro bono, Covington policy requires
that any fees that Covington recovers must be donated to charitable public interest or legal services
organizations after the deduction of amounts necessary to cover expenses in the instance case and
contribute to expenses incurred in the firm’s other pro bono matters.

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statutory ceiling and should be calculated for each year). Plaintiffs seek the hourly rates shown in

Table 1, which are calculated for each year, for each attorney based on the geographic region where

they worked. These rates are a fair reflection of the adjusted maximum hourly rate under the

EAJA. See, e.g., Garcia v. Comm’r of Soc. Sec., No. 20-CV-7201, 2022 WL 1684280, at *2

(S.D.N.Y. May 26, 2022) ($212.40 per hour in 2020; $219.45 per hour in 2021; $222.00 per hour

in 2022); Arnao v. Comm’r of Soc. Sec. Admin., No. 18-CV-6801, 2024 WL 710410, at *5

(S.D.N.Y. Feb. 21, 2024) ($206.84 per hour in 2019; $213 per hour in 2021); Patterson v. Comm’r

of Soc. Sec., No. 20-CV-4591, 2021 WL 4125013, at *2 (S.D.N.Y. Sept. 9, 2021) ($212.40 per

hour in 2020; $216.41 per hour in 2021). Plaintiffs also seek hourly rates at $100 for paralegal

work, as a conservative estimate of the prevailing market rate for paralegals’ time. See Richlin

Sec. Serv. Co. v. Chertoff, 553 U.S. 571, 590 (2008) (holding that a prevailing party under the

EAJA may recover its paralegal fees at prevailing market rates); Garcia, 2022 WL 1684280, at *2

(finding $100 per hour “reasonable and . . . consistent with hourly paralegal rates that have been

approved by other courts in this District”).




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                    Table 1 – Hourly Rates with Cost-of-Living Adjustment5

                               2019        2020        2021        2022        2023        2024

    New York                 $208.83     $212.40      $219.44    $232.84     $241.74      $246.48

    Washington, D.C.         $208.95     $210.82      $219.17    $233.68     $240.94      $244.60

    San Francisco/Palo       $241.17     $245.33      $253.21    $267.38     $277.18      $282.17
    Alto

    Los Angeles              $217.83     $221.37      $229.85    $246.97     $255.55      $260.20


         The total hours billed for this matter are “reasonable in light of the issues presented,

counsel’s experience, and the quality of representation provided.” See Arnao, 2024 WL 710410,

at *4. As set forth in Appendix A, Plaintiffs request recovery for 4,466.6 attorney hours and 174.1

paralegal hours. These hours reflect work performed over multiple stages of litigation, in both this

Court and in the Second Circuit. In requesting recovery for 4,466.6 hours worked, Plaintiffs’

counsel have declined to ask for recompense for significant time actually spent on this matter.

Plaintiffs’ attorneys’ hours are reasonable when considering the “factual, substantive, and

procedural complexity of the case” and the “efficacy of the attorney[s’] efforts.” Patterson, 2021

WL 4125013, at *3 (citation omitted).

         Finally, Plaintiffs seek $21,353.41 in additional costs. These “[r]easonable out-of-pocket

expenses are generally reimbursed as a matter of right in connection with an award of attorneys’

fees.” Barbour v. Colvin, 993 F. Supp. 2d 284, 292 (E.D.N.Y. 2014). These costs include costs

for travel and lodging, filing fees, process servers, printing and duplicating, telephone calls, and


5
  These adjustments were “calculated . . . by multiplying the $125 statutory rate by the annual
average consumer price index figure for all urban consumers (‘CPI–U’) for the years in which
counsel’s work was performed, and then dividing by the CPI–U figure for March 1996, the
effective date of EAJA’s $125 statutory rate.” See R.F.M. v. Nielsen, No. 18-CV-5068, 2020 WL
6393583, at *3 n.7 (S.D.N.Y. May 4, 2020) (cleaned up), report and recommendation adopted,
2020 WL 6393718 (S.D.N.Y. May 20, 2020).

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legal research charges, all of which are routinely recoverable. See, e.g., Larsen v. JBD Legal Grp.,

P.C., 588 F. Supp. 2d 360, 365–66 (E.D.N.Y. 2008) (awarding costs for photocopies, telephone

calls, postage, FedEx costs, court-imposed filing fees, process servers, transcripts, and

transportation).

                                         CONCLUSION

       Plaintiffs respectfully request that the Court award Plaintiffs’ attorneys’ fees and costs of

$907,407.71 as detailed above.



Dated: April 10, 2024                                Respectfully submitted,

                                                     /s/ David M. Zionts
                                                     David M. Zionts




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                                                 Plaintiffs




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                  Appendix A
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                                   Appendix A – Attorney Hours and Calculation of Fees Requested

                                                      Covington & Burling LLP

       Name               Title            2019             2020             2021             2022            2023             2024 a

                                                              New York

 Cristina Alvarez      Associate           112.2             8.5               0               0                0                0

Sarah Mac Dougall      Associate           390.6            305               7.1              0                0                0

       Total Attorney Hours                502.8           313.5              7.1              0                0                0

       Total Attorneys’ Fees            $104,999.14      $66,588.15     $1,558.06              0                0                0
                                                          Washington, D.C.

Rebecca DiPietro       Associate             0                0                0               0                0               45.1

    Bradley Ervin      Associate            37.4              0                0               0                0                0

    David Zionts         Partner            136             88.7              0.3              1.4              2                0

       Total Attorney Hours                173.4            88.7              0.3              1.4              2               45.1



a
 Plaintiffs have included in their calculation attorney fees for hours incurred preparing this fee application through March 2024. See
Black v. Nunwood, Inc., No. 13-cv-7207, 2015 WL 1958917, at *7 (S.D.N.Y. Apr. 30, 2015) (“It is well established that ‘time reasonably
spent by plaintiff’s attorneys in establishing their fee [is] compensable.’” (quoting Gagne v. Maher, 594 F.2d 336, 344 (2d Cir. 1979)).
Plaintiffs reserve the right to recover for additional time spent litigating attorneys’ fees from April 2024 onward.
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Appendix A


     Total Attorneys’ Fees         $36,231.32     $18,700.15         $65.75           $327.15      $481.88    $11,031.56

                                                 San Francisco/Palo Alto

   Kurt Calia          Partner        470.8          17.6              2.2              4.6             3.9      3.1

Marina Dalia-Hunt     Associate       81.6             0               0                0               0         0

  Morgan Lewis        Associate       98.8            10               0                0               0         0

      Total Attorney Hours            651.2          27.6              2.2              4.6             3.9      3.1

     Total Attorneys’ Fees         $157,052.49     $6,771.03        $557.05       $1,229.95       $1,081.01    $874.73

                                                      Los Angeles

 Paulina Slagter      Associate       331.3          125.1            14.3              1.3             0.1       0

                       Special
 Ryan Weinstein                       232.1           0.7              0                0               0         0
                       Counsel

      Total Attorney Hours            232.1           0.7             14.3              1.3             0.1       0

     Total Attorneys’ Fees         $50,557.74      $ 154.96         $3,286.86         $321.06      $25.55         0

                                                       Paralegals

 Timothy Aulet        Paralegal        0             12.5              0                0               0         0

                      Paralegal
  Ellen Chiulos                        7.1             0               0                0               0         0
                      Specialist

Katherine Hancock     Paralegal        9               0               0                0               0         0



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Appendix A


                      Paralegal
 Rohna Houston                        15.9          0             0                  0               0   0
                      Specialist

  Sarah Reeves        Paralegal       5.2           0             0                  0               0   0

 Robert Reznick       Paralegal        0          21.4           0.2                 0               0   0

Damani Roberts-
                      Paralegal       7.5           0             0                  0               0   0
   Heyliger

                      Paralegal
 Julie Romanow                        88.7         6.6            0                  0               0   0
                      Specialist

     Total Paralegal Hours           133.4         40.5          0.2                 0               0   0

     Total Paralegal Fees          $13,340.00   $4,050.00       $20.00               0               0   0



Total Covington Attorneys’ Fees                                        $461,895.58

Total Covington Paralegal Fees                                         $17,410.00

Total Covington Fees (Attorneys
                                                                       $479,305.58
        and Paralegals)




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Appendix A




                                Planned Parenthood Federation of America (Washington, D.C.)

                      Senior
 Diana Salgado                         369.9          105.6           0.9                 2               3.2   0
                     Director

                      Staff
Hana Bajramovic                        443.1          165.6            0                  0               0     0
                     Attorney

    Total Attorney Hours                813           271.2           0.9                 2               3.2   0

    Total Attorneys’ Fees           $169,873.50     $57,175.65      $197.25          $467.36         $771.00    0



 Total PPFA Attorneys’ Fees                                                $ 228,484.76

                                     National Women’s Law Center (Washington, D.C.)

Michelle Banker      Director          347.6            52             0                  0               1.3   0

                      Legal
  Sunu Chandy                            3              5              0                  0               0     0
                     Director

    Total Attorney Hours               350.6            57             0                  0               1.3   0

    Total Attorneys’ Fees            $73,256.64     $12,017.01         0                  0          $313.22    0



Total NWLC Attorneys’ Fees                                                  $85,586.87


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 Appendix A


                                     American Civil Liberties Union (New York)

                       Staff
  Lindsey Kaley                    138.3          36.1               0                0           0   0
                      Attorney

                      Deputy
Alexa Kolbi-Molinas                 181           86.3               0                0           0   0
                      Director

     Total Attorney Hours          319.3          122.4              0                0           0   0

     Total Attorneys’ Fees       $66,679.05    $25,998.05            0                0           0   0



  Total ACLU Attorneys’ Fees                                         $92,677.10




                                                          v
